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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                  Plaintiff,

     vs.                                           Case No. 24CR50


STEVEN ANDEREGG,

                  Defendant.


                                OMNIBUS BRIEF




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         I.     Introduction and overview of the case law supporting the pretrial
                motions.

         This case is not about child pornography: the rules and analysis for those cases

don’t apply here. This is all about obscenity and the First Amendment, and it’s a much,

much different framework.1 Child pornography case law rests on the abuse of a child—

so an image of a seventeen-year-old showering qualifies as child pornography even if it’s

not obscene. 2 The Supreme Court has set a different bar for obscenity because “sexual

expression which is indecent but not obscene is protected by the First Amendment.”3

That is, not all images that are colloquially described as pornographic are obscene. 4

Rather, pornographic material is only obscene when it is (in the Supreme Court’s words)

“patently offensive,” “hard core” pornography. 5

          To help distinguish between pornography and obscene materials, in Miller v.

California, the Supreme Court provided this test: “works which, taken as a whole, appeal

to the prurient interest in sex, which portray sexual conduct in a patently offensive way,

and which, taken as a whole, do not have serious literary, artistic, political, or scientific

value.” 6 Read in the abstract, the words “prurient” and “patently offensive” seem hard

to define. Thankfully, throughout the opinion, the Court circled back to the fact that

“obscene” materials are those that contain “hard core” pornography:




1 Reno v. ACLU, 521 U.S. 844, 875 (1997); Ashcroft v. Free Speech Coalition, 535 U.S. 234, 245 (2002).
2 United States v. Donoho, 76 F.4th 588, 597–98 (7th Cir. 2023); see Excellent Publications, Inc. v. United

States, 309 F.2d 362, 364 (1st Cir. 1962).
3 Reno, 521 U.S. at 874 (quoting Sable Communications v. FCC, 492 U.S. 115, 126 (1989)).
4 Miller v. California, 413 U.S. 15, 19 n.2 (1973).
5 Id. at 27.
6 Id. at 25.




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        •   “[N]o one will be subject to prosecution for the sale or exposure of
            obscene materials unless these materials depict or describe patently
            offensive ‘hard core’ sexual conduct.” 7

        •   “[A] majority of this Court has agreed on concrete guidelines to isolate
            ‘hard core’ pornography from expression protected by the First
            Amendment.” 8

And with the deft use of adverbs, the opinion gave meaning to the term “hard core.” 9 It

is material that “goes substantially beyond customary limits of candor and affronts

contemporary community standards of decency.” 10

        Again, not all pornographic material is obscene—obscene materials rise to a much

different level. So while an image of a minor masturbating is clearly pornography and

(for that matter) child pornography, if it’s not a real child, it’s not (without more)

obscene. 11 Likewise, while an image of a minor showering would qualify as child

pornography, it wouldn’t be deemed obscene. 12 Case law makes that point plain, and it’s

an important point because the question is not whether the images involve nude minors

or minors engaged in sexual acts—they always will. It’s whether the images are patently

offensive, hard core pornography that does not have serious value because only that

material qualifies as obscene and by extension only obscene material can be criminalized

because only obscene materials aren’t protected by the First Amendment. 13


7 Id. at 27 (emphasis added).
8 Id. at 29 (emphasis added).
9 Id. at 36–39.
10 Id. at 31 (emphasis added).
11 See United States v. Arthur, 51 F.4th 560, 570–71 (5th Cir. 2022); see also New York v. Ferber, 458

U.S. 747, 764 (1982).
12 See United States v. Various Articles of Obscene Merch., Schedule 1724, 460 F. Supp. 826, 830

(S.D.N.Y. 1978); see also United States v. Various Articles of Merch., 230 F.3d 649, 657 (3d Cir. 2000).
13 Free Speech Coalition, 535 U.S. at 245.




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       That’s a critical point because so much of this case rests on the First Amendment,

both its protection of material that isn’t obscene and its protection of a person’s right to

possess obscene material, so long as it’s inside the privacy and sanctity of the home. In

Stanley v. Georgia, the Supreme Court made that plain: “Whatever may be the

justifications for other statutes regulating obscenity, we do not think they reach into the

privacy of one’s own home. If the First Amendment means anything, it means that a State

has no business telling a man, sitting alone in his own house, what books he may read or

what films he may watch. Our whole constitutional heritage rebels at the thought of

giving government the power to control men’s minds.” 14 And the Court was clear on the

geographic limits that the First Amendment covers: The “power to regulate obscenity …

simply does not extend to mere possession by the individual in the privacy of his own home.”15

That principle resonates here, because two of the counts turn on actions that (taking the

allegations as true) Anderegg did in the confines of his own home.

       Consistent with Stanley, inside his own home, Anderegg has the freedom and

absolute right to possess and produce obscene materials. He can’t take them outside the

home, he can’t distribute them, nor (for that matter) can he receive them. 16 But so long as

it’s inside the home, the First Amendment shields his activities. 17 Thus, even if these

images are obscene (the ones in the search warrant definitely aren’t) and even though




14 394 U.S. 557, 565 (1969) (emphasis added).
15 Id. at 568 (emphasis added).
16 United States v. Orito, 413 U.S. 139, 143 (1973); United States v. Twelve 200-ft. Reels of Super 8mm.

Film, 413 U.S. 123, 128 (1973); Osborne v. Ohio, 495 U.S. 103, 108 (1990).
17 See Stanley, 394 U.S. at 565.




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Anderegg can’t distribute the images, he has the absolute right to possess and produce

obscene materials inside his own home.

        When it comes to obscene materials, “[t]he line between speech unconditionally

guaranteed and speech which may legitimately be regulated, suppressed, or punished is

finely drawn. The separation of legitimate from illegitimate speech calls for sensitive

tools.” 18 And yet there are firm and absolute distinctions that have been hashed out

between what is (and is not) obscene. Here, the search-warrant application lost sight of

those subtle and important distinctions. When it comes to search-warrant applications

for obscene materials, courts have been clear: the issuing judge cannot simply ratify the

officer’s opinion. 19 The judge needs to see the image or (at the very least) have a sufficient

factual basis to engage in a “searching inquiry” evaluating the obscenity issue. 20 And “[a]

judge cannot ordinarily make this determination without either a look at the allegedly

pornographic images, or at least an assessment based on a detailed, factual description of

them.” 21

        Yet here, all that was provided to the judge in the first search-warrant application

was two descriptions, which mirrored what Instagram had sent law enforcement, and

did not tackle any aspect of what the court would have to consider in deciding whether

the material was obscene. Here is what the judge was given about the images:


18 Marcus v. Search Warrant of Property, 367 U.S. 717, 731 (internal quotation omitted) (alterations

omitted).
19 United States v. Brunette, 256 F.3d 14, 17–18 (1st Cir. 2001) (citing Illinois v. Gates, 462 U.S. 213,

239 (1983)).
20 Lee Art Theatre, Inc. v. Virginia, 392 U.S. 636, 637 (1968); Furfaro v. City of Seattle, 984 P.2d 1055,

1059 (Wash. Ct. App. 1999) (quoting Marcus, 367 U.S. at 732).
21 Brunette, 256 F.3d at 18.




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          This image depicted what appeared to be a prepubescent juvenile male kneeling
          on a blue blanket in a wooded area. The male was partially clothed, only wearing
          a baseball cap and white underwear. The male had his erect penis exposed through
          the opening in his underwear. In the background of the image were other clothed,
          pre or young pubescent children. The male was posed in a manner that made his
          erect penis the focal point of the image. This image appears to be computer-
          generated content. 22

          This image depicted what appeared to be a different prepubescent juvenile male
          kneeling on a blue blanket in a wooded area leaning back on his hands with his
          legs spread far apart exposing his erect penis. The male had a blue cloth draped
          across his stomach, but other than that, was completely nude. There was a partially
          clothed juvenile female with brown hair kneeling to the left of the male looking
          over his shoulder at him. The male in this image was posed in a manner that made
          his penis the focal point of the image. This image appears to be computer-
          generated content. 23

To paraphrase the Seventh Circuit in United States v. Griesbach, while a picture is worth a

thousand words, those descriptions aren’t “worth even one picture.”24 Those descriptions

don’t allow for a “searching inquiry.” With those descriptions, there could not (and

would not) be any grappling with whether these images are obscene. Would they qualify

as child pornography if it was an image of a real child? Maybe. But (again) that’s not the

analysis for materials that don’t involve actual children—the question for a virtual image

is whether it’s obscene.

          All we have is a few sentences and nothing that speaks to the ultimate issue: is it

hard core, patently offensive pornography and is it without serious value? To the first

point, nothing in that description speaks to whether the images are patently offensive,

hard core pornography. Is an image of a boy with his penis exposed, surrounded by



22 Ex. A. at 11.
23 Id.
24 540 F.3d 654, 656 (7th Cir. 2008).




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others, odd? Troubling? Disturbing? Sure. But patently offensive, hard core

pornography? No. What’s more, there is nothing in the search-warrant application that

would allow the judge to scrutinize whether the image lacks serious literary, artistic,

political, or scientific value. Without setting out that aspect of the analysis and without

the judge seeing the images, the judge could not make the critical call: is there probable

cause to find that these images are obscene? And if he couldn’t make that call then the

warrant couldn’t issue. Consistent with the case law set out below, the search warrant

issued here cannot be upheld.

       That is an overview of all that follows, explaining why Counts One and Four must

be dismissed under Stanley, why (as a matter of law) Counts Two and Three must be

dismissed because the images are not obscene, why the evidence seized pursuant to the

search warrant must be suppressed, and why this Court must view in camera the grand

jury instructions and grant a Bill of Particulars.




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         II.      Obscenity has a higher bar than mere pornography, focusing on whether
                  the image is patently offensive and utterly without serious artistic value.

         The Introduction provided a high-level analysis of this case and the motions filed,

but to understand why relief must be granted, it’s critical to really understand the law

surrounding obscenity. That includes a brief history of the last seventy-five years of

obscenity jurisprudence. Few want to return to a law school seminar on Sex and the Law,

but the early cases inform the language that courts use and how the obscenity test

operates. That includes Miller and the critical distinction that not all pornography (even

that involving children) is obscene. Instead, case law and evolving social mores have

provided lines between what’s distasteful, even odious, and what’s obscene. And those

cases and those principles control here.

               A brief history of obscenity jurisprudence and why the earlier cases inform
               the latter.

         For most of our Nation’s history, the question of “obscenity” was left to the States,

and it wasn’t until the 1950s that the Supreme Court in Roth tackled the First Amendment

implications. 25 There, the Court examined the protection the Constitution gave certain

types of speech and found that, like libel and slander, obscenity was “utterly without

redeeming social importance” and universally prohibited. 26 Based on its failure to

contribute to the common good, the Court categorically stated that “obscenity is not

within the area of constitutionally protected speech.” 27




25 Roth v. United States, 354 U.S. 476, 488 (1957).
26 Id. at 484.
27 Id. at 485.




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         The question then remained: how to define “obscenity” in a manner that would

protect non-obscene material from censorship? The Court defined obscenity as material

that was “utterly without redeeming social importance” and that deals with sex in a

manner “appealing to the prurient interest.” 28 As one would imagine, that was not a

helpful test, and challenges abounded to books, plays, magazines, and movies. 29 Then in

1966, the Court reworked the definition of obscenity in Memoirs of a Woman of Pleasure.

There, it fashioned a new, three-part test:

    1. That the material’s dominant theme, taken as a whole, appeals to the prurient
       interest;

    2. That the material is patently offensive pursuant to community standards; and

    3. That the material is utterly without redeeming social value. 30

The Court added the “patently offensive” requirement, and addressed whether to look

at the work as a whole or just the offending part. 31 It decided that you must look at the

work as a whole. 32

         In the wake of the sexual revolution, the Court continued to be slammed with cases

about whether this or that film was protected by the First Amendment. 33 And it was stuck

making many ad hoc decisions. This included, in one case, the whole Court watching the


28 Id. at 484.
29 See, e.g., United States v. A Motion Picture Film Entitled “I Am Curious-Yellow”, 404 F.2d 196, 201

(2d Cir. 1968); A Quantity of Copies of Books v. Kansas, 378 U.S. 205, 210–11 (1964); Bantam Books,
Inc., v. Sullivan, 372 U.S. 58, 66 (1963).
30 A Book Named “John Cleland’s Memoirs of a Woman of Pleasure” v. Attorney Gen. of Mass., 383 U.S.

413, 418 (1966).
31 Id.
32 Id.
33 See, e.g., New York v. P.J. Video, Inc., 475 U.S. 868, 873–74 (1986); Smith v. United States, 431 U.S.

291, 306 (1977).


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film “The Lovers,” which contained an explicit sex scene. 34 Agreeing the film was not

obscene, Justice Stewart noted that obscenity was only: “hard-core pornography.” 35 And he

added a phrase that still abounds in the law and culture: “I shall not today attempt further

to define the kinds of material I understand to be embraced within that shorthand

description . . . But I know it when I see it, and the motion picture involved in this case is

not that.”36

        Over the next few years, the Court tried to construct a better test for what was

obscene. Clearly the material had to be patently offensive, and everyone agreed it only

reached “hard core” pornography, but the rest of the test was unworkable: what is a work

that is “utterly” without redeeming value? What was “hard core” pornography? No one

really knew until five Justices said so.

            Miller decides that only patently offensive, prurient material without serious
            value falls outside the First Amendment.

        That brief history of obscenity law led up to Miller. There, the Court was

confronted with the Justices’ competing views on what was (and wasn’t) protected by the

First Amendment. 37 After reviewing Roth and Memoirs of a Woman of Pleasure, the

principles those cases set out and the difficulty in applying their tests, the Court noted a

new test was needed. 38 Clearly, obscenity was not protected by the First Amendment, but

the question was: how do you define obscenity? In a single sentence, it came up with this



34 Jacobellis v. Ohio, 378 U.S. 184, 195–96 (1964).
35 Id. at 197 (Stewart, J., concurring) (emphasis added).
36 Id. (emphasis added).
37 See Miller, 413 U.S. 15 at 20.
38 See id. at 20–22.




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formulation: the work must “appeal to the prurient interest in sex, which portray sexual

conduct in a patently offensive way, and which, taken as a whole, do not have serious

literary, artistic, political, or scientific value.” 39

         While the opinion has interesting observations about the “contemporary

community standards,” the real takeaway focuses on the second and third elements.

Concerning the second element (the offensive inquiry), the Court was clear: not every

depiction of sex or masturbation, or exhibition of the genitalia, is obscene; the depiction

must be “patently offensive.” With effective adverbs, the Court noted precisely what was

covered:

         (a) Patently offensive representations or descriptions of ultimate sexual
             acts, normal or perverted, actual or simulated.

         (b) Patently offensive representations or descriptions of masturbation,
             excretory functions, and lewd exhibition of the genitals. 40

The Court returned to the “patently offensive” analysis from Memoirs and emphasized

that obscenity only reached hard-core pornography: “Under the holdings announced

today, no one will be subject to prosecution for the sale or exposure of obscene materials

unless these materials depict or describe patently offensive ‘hard core’ sexual conduct

specifically defined by the regulating state law.” 41 That is, material that “goes substantially

beyond customary limits of candor and affronts contemporary community standards of

decency.” 42



39 Id. at 24.
40 Id at 25 (emphasis added).
41 Id. at 27 (emphasis added).
42 Id. at 31 (emphasis added).




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         The Court then addressed the I-know-it-when-I-see-it standard and how

unworkable it was: no one in the country knew what was really obscene. 43 The Miller test

would solve all the prior problems because now there were “concrete guidelines to isolate

‘hard core’ pornography from expression protected by the First Amendment.” 44 The

opinion continued: “The protection given speech and press was fashioned to assure

unfettered interchange of ideas for the bringing about of political and social changes

desired by the people. But the public portrayal of hard-core sexual conduct for its own sake,

. . . is a different matter.” 45 With that, there was a new threshold and understanding that

cases for fifty years would be guided by—determining whether the images themselves

depict hard core sexual conduct, whether they are patently offensive, and whether, taken

as a whole, the images are without any serious value.

                Fifty years of post-Miller decisions establish that not all pornography is
                obscene.

         The cases that followed in Miller’s wake ranged from seizures of pornographic

books to arrests of movie projector operators and museum curators. 46 Through it all,

certain guidelines emerged, including how courts understand what’s patently offensive,

hard-core pornography—even if they feature hard core sexual elements.




43 See id. at 23–25.
44 Id. at 29.
45 Id. at 34–35 (internal quotations omitted) (emphasis added).
46 See, e.g., Butler v. Dexter, 425 U.S. 262, 263 (1973); Jenkins v. Georgia, 418 U.S. 153, 161 (1974);

Cincinnati v. Contemporary Arts Center, 57 Ohio Misc. 2d 9, 11, 566 N.E.2d 207 (Hamilton Cnty. Ct.
1990); Young v. Am. Mini Theatres, 427 U.S. 50, 70 (1976); A Quantity of Copies of Books v. Kansas, 378
U.S. 205, 210–11 (1964).


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          i.     A work is patently offensive when it goes substantially beyond what is a
                 normal portrayal of sex.

          The cases that grapple with what’s “patently offensive” are careful to note that

we’re dealing subtle distinctions that can get blurred. And, as the Supreme Court

observed in Miller, standards change: “One can concede that the ‘sexual revolution’ of

recent years may have had useful byproducts in striking layers of prudery from a subject

long irrationally kept from needed ventilation.” 47

          Despite those changing mores, certain rules persist. When an actual child is

involved the Ferber analysis applies. 48 Any pornography involving a child can be

criminalized because it’s not only the image that’s condemned but also the

revictimization of a child. 49 It’s important to remember that in Ferber the movie at issue

showed two minor boys masturbating; it wasn’t obscene, but because it was real children

it could be criminalized. 50 But when there’s not actual minors (as in computer-generated

pornography) then Miller controls and it demands more—patently offensive, hard-core

pornography, which can be described as materials that go “substantially beyond” normal

depictions of sexual conduct. 51 That point was made plain in Free Speech Coalition, where

the Court affirmed that “[v]irtual child pornography is not ‘intrinsically related’ to the

sexual abuse of children.” 52 And it noted that some works in the category of virtual child




47 Miller, 413 U.S. at 36.
48 New York v. Ferber, 458 U.S. 747, 764 (1982).
49 Id.
50 Id.
51 See 413 U.S. at 27 (emphasis added); see also United States v. Williams, 553 U.S. 285, 288–89 (2008).
52 535 U.S. at 250 (quoting Ferber, 458 U.S. at 759).




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pornography “might have significant value.” 53 Thus, with virtual images of children the

issue is whether they run afoul of Miller, not whether they are merely pornographic. 54

          For the most part, the cases charged reflected that reality, but sometimes the

government has gone too far. In Arthur, the Fifth Circuit was confronted with images of

rape and mutilation of children, and those qualified as obscenity. 55 They were hard-core

pornography and, without question, patently offensive. 56 But an image of a minor

masturbating was not. In the Court’s words:

          Count 1 is a simple black and white pencil or charcoal drawing with
          minimal detail depicting an adolescent girl alone, reclining and apparently
          masturbating. Importantly, unlike the children depicted in the images in
          Counts 8 and 9, there is no indication that the subject of the image in Count
          1 is being forced to perform a sexual act. The drawing is simple and utterly
          lacking in violent depictions. Our independent constitutional review of the
          image charged in Count 1 leads us to the conclusion that it is not obscene
          under Miller. 57

That makes sense because even though a minor masturbating (whether it’s a photograph,

a wax sculpture, or a charcoal drawing) can be disturbing and not coffee-table material,

it’s not patently offensive, nor can it be described as hard-core pornography.58

          To be clear, the focus isn’t on the medium—charcoal versus watercolor, fresco

versus AI—but rather on what’s depicted: hard core, patently offensive sexual conduct.

The drawing in Arthur captured, for lack of a better term, somewhat pedestrian sexual




53 Id. at 251.
54 Id.
55 Arthur, 51 F.4th at 570.
56 Id.
57 Id. at 570–71.
58 Id.




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conduct—no matter the medium, it’s just a teenager masturbating. As the Supreme Court

has observed: “the visual depiction of an idea—that of teenagers engaging in sexual

activity—that is a fact of modern society and has been a theme in art and literature

throughout the ages.” 59 So the fact that an image captures a minor exposing themselves,

or masturbating or even having sex is not, by itself, obscene. 60 It’s sexual and it’s no doubt

pornographic, but it’s just not obscene.

         ii.     The work must also be without serious artistic value when taken as a
                 whole.

         That leads to the second important point from Miller’s progeny: the image has to

be taken as whole. 61 In Miller, the Court wrestled with whether the content was “utterly

without redeeming social value.” 62 That was an unworkable standard since anything

would have some social value. 63 And so, the Court settled on the formulation that taken

as a whole, the work does not have serious literary, artistic, political or scientific value.64

The question became: how do you analyze the work and whether it has serious value?

         To the first question, the work is taken as whole, so that sex scene from Romeo and

Juliet can’t be spliced out from the rest of the play and adjudged obscene—no matter how

raunchy and gratuitous that scene may be. 65 The issue is whether the piece has serious




59 Free Speech Coalition, 535 U.S. at 246.
60 See id.; see also United States v. Various Articles of Merch., 230 F.3d at 657.
61 Id. at 248.
62 See 413 U.S. at 20–30.
63 See id. at 21–23.
64 Id. at 24.
65 See Free Speech Coalition, 535 U.S. at 247.




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value on the whole. 66 One way to look at that is when the offensive image or component

is removed, what remains? That is, does taking out the hard core, patently offensive

image (or aspect or scene) mean there is something that would have otherwise been lost

because of the prurient parts. 67 But that too is incomplete and inaccurate because even

movies and images devoted to and dominated by sex can have serious value and that

value changes as society’s mores and appreciations for a work evolves. 68 And in no sense

can a work be condemned because it has sexual content, even sexual content that is

outside the mainstream; it can only be condemned when “taken as a whole” it appeals “to

the prurient interest in sex, which portray sexual conduct in a patently offensive way,

and which, taken as a whole, do not have serious literary, artistic, political, or scientific

value.” 69




66 United States v. Various Articles of Merch., Seizure Nos. 550 & 552, No. 90 C 4773, 2, 1991 WL 32726

(N.D. Ill. Mar. 7, 1991), aff’d sub nom. United States v. Various Articles of Merch., Seizure No. 550 &
No. 552, 972 F.2d 352 (7th Cir. 1992) (unpublished); Miller, 413 U.S. at 24.
67 See Lordi v. UA N.J. Theatres, Inc., 108 N.J. Super. 19, 23–25, 259 A.2d 734 (1969) (citing United

States v. A Motion Picture Film Entitled “I Am Curious-Yellow”, 404 F.2d 196, 201 (2d Cir. 1968)
(Friendly, J., concurring).
68 See id.
69 Miller, 413 U.S. at 24 (emphasis added).




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           iii.   Understanding the evolution of the First Amendment’s protection of
                  sexual images.

           To understand an image’s value, the Court also has to consider the way images of

sexual conduct have been (and are) protected by the First Amendment. Since men started

drawing on the walls of caves, they featured images of sex. 70 It continued with Grecian

pottery and sculpture showing sex with young boys. 71 It’s seen in African and Asian art,

depicting fertility dolls, sex with multiple partners, and many subjects who are very

young. 72 In Europe, it’s been a theme in art since the Enlightenment—freed of state

censorship, works with sexual themes and even sex with minors abounded. 73 And in

America, as each new form of technology has emerged, it’s been used to feature sex. From

drawings to magazines, from the camera to the movie projector, from BetaMax to the

internet, as the technology arrives it’s used to portray sexual images—that is just a truism

of life.

           As sexual depictions have appeared in each new medium, it has been met with

calls for censorship and criminal sanctions. People called for Edison’s arrest with the

showing of a “kiss” in a silent film. 74 In 1938, the publisher of LIFE magazine was



70 See Third International Conference on the Rock Art of Northern Africa, Programme, Royal

Academy for Overseas Sciences (Sept. 12–13 2023) https://tinyurl.com/bdd2nwxb; see also Free
Speech Coalition, 535 U.S. at 246.
71 Two-handled cup with male couples, held by Museum of Fine Arts Boston’s Greek Pottery

Collection, https://tinyurl.com/mcn76dzx; Jenna Ross, Pedophilia in Ancient Greece and Rome, The
Collector (May 23, 2020), https://tinyurl.com/4mhek5ws.
72 See Kinsey Institute, Eros in Asia: Erotic Art from Iran to Japan Online Gallery,

https://tinyurl.com/mjh92smm; Reina Gattuso (Sept. 2022), Female Fertility Figurines in the
Ancient Mediterranean, https://tinyurl.com/3vc3cc8b.
73 Art Nouveau and the Erotic, Victoria and Albert Museum https://tinyurl.com/3src62wv.
74 See Olivia B. Waxman, This is What Americans Used to Consider Obscene, TIME (June 21, 2016),

https://tinyurl.com/3dj89mcp.


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acquitted of obscenity charges for selling magazines with stills from the film “Birth of a

Baby.” 75 And with the release of Midnight Cowboy in 1969 there were calls for

censorship. 76 That reality isn’t only in film. In 1990, the vaunted Cincinnati Art Museum’s

director was placed on trial for showing a Mapplethorpe exhibit.77 And as Pornhub and

other websites gained traction in America, so did calls for charges to issue. 78

        Yet all of that was protected by the First Amendment and tolerated. 79 From

tolerated, those pieces were soon accepted by society at large. And after acceptance, those

pieces came to be admired and even celebrated. 80 For his part, Mapplethorpe’s

photography has a permanent exhibit at the Getty Museum in LA and is featured in books

widely available on Amazon. Much of that evolution and understanding has been taken

for granted in this brief. But it’s important to recall how case law reflects culture and how

culture is influenced by case law. A movie that was once reviewed by five Justices for

obscenity would now be rated PG-13.




75 People v. Larsen, 5 N.Y.S.2d 55, 57 (Ct. Spec. Sess. 1938); Likes ‘Birth of a Baby,’ N.Y. TIMES (April

19, 1938), https://tinyurl.com/rhnbrmn6.
76 Glenn Frankel, X-Rated: Inside the Myths and Legends of Midnight Cowboy, VANITY FAIR (Feb. 26,

2021), https://tinyurl.com/5n6vxxdm.
77 Cincinnati v. Contemporary Arts Center, 57 Ohio Misc. 2d 9, 11, 566 N.E.2d 207 (Hamilton Cnty.

Ct. 1990); Alex Palmer, When Art Fought the Law and Art Won, SMITHSONIAN MAGAZINE (Oct. 2,
2015), https://tinyurl.com/48p8v7c4.
78 C.f. Free Speech Coal., Inc. v. Paxton, 95 F.4th 263, 270 (5th Cir. 2024).
79 See Waxman, This is What Americans Used to Consider Obscene, TIME (June 21, 2016),

https://tinyurl.com/3dj89mcp.
80       E.g.,      Robert          McDonald,         Censored,       QUEER   CULTURAL CTR.,
https://queerculturalcenter.org/robert-mapplethorpe/; Frankel, X-Rated: Inside the Myths and
Legends of Midnight Cowboy, VANITY FAIR (Feb. 26, 2021), https://tinyurl.com/5n6vxxdm.



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          All that accords with the First Amendment’s tolerance (and protection) of cutting-

edge materials, even those that involve patently offensive, hard-core pornography; if the

whole of the work has some serious value, then it is protected. 81 That’s an essential

component of the First Amendment—the freedom to express ideas, even if they are

repugnant to some or even many. 82 After all, as one court observed on this issue: we have

“free will to make an independent choice of values and to teach our children to do the

same. Paternalistic censorship by government must continue to limit that choice only in

the most extreme of circumstances.” 83 Outside those most extreme circumstances, the

First Amendment provides complete protection. 84

              Under Stanley, the First Amendment protects a person’s right to have and
              produce obscene material inside the home.

          While Miller set out the test for what fell outside the First Amendment, the

Supreme Court in Stanley set out how far the First Amendment’s protections stretched

for obscene materials. 85 There, the Court acknowledged that obscene materials fell

outside the First Amendment and wrestled with it provided (within the privacy of a

person’s home) the freedom of “mere private possession of such material.” 86

          The Court grounded its analysis on the First Amendment’s lofty goals and noted

that consistent with those values Stanley was “asserting the right to read or observe what

he pleases—the right to satisfy his intellectual and emotional needs in the privacy of his


81 Excellent Publications, Inc., 309 F.2d at 364–65.
82 Street v. New York, 394 U.S. 576, 592 (1969); Matal v. Tam, 582 U.S. 218, 244 (2017).
83 Luros v. United States, 389 F.2d 200, 206 (8th Cir. 1968).
84 Free Speech Coalition, 535 U.S. at 255.
85 Stanley v. Georgia, 394 U.S. 557, 564 (1969).
86 Id.




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own home. He is asserting the right to be free from state inquiry into the contents of his

library.” 87 Even though obscene materials don’t have First Amendment protection outside

the home, the Court continued that the same material is protected inside the home: “[W]e

think that mere categorization of these films as ‘obscene’ is insufficient justification for

such a drastic invasion of personal liberties guaranteed by the First and Fourteenth

Amendments. Whatever may be the justifications for other statutes regulating obscenity,

we do not think they reach into the privacy of one’s own home.” 88 And it added: “If the

First Amendment means anything, it means that a State has no business telling a man,

sitting alone in his own house, what books he may read or what films he may watch. Our

whole constitutional heritage rebels at the thought of giving government the power to control

men’s minds.” 89

          After establishing that the law could only go so far, the Court addressed the

counterargument for why Georgia (or any state) would want to criminalize obscene

materials within a person’s home and his private thoughts: “And yet, in the face of these

traditional notions of individual liberty, Georgia asserts the right to protect the

individual’s mind from the effects of obscenity. We are not certain that this argument

amounts to anything more than the assertion that the State has the right to control the moral

content of a person’s thoughts.” 90 It then took on the argument more fully, rejecting its logic:

this is “wholly inconsistent with the philosophy of the First Amendment. … ‘this



87 Id. at 565 (emphasis added).
88 Id.
89 Id. (emphasis added).
90 Id.   (emphasis added).


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argument misconceives what it is that the Constitution protects.’” 91 The Court then added

a point that resonates here: “The line between the transmission of ideas and mere

entertainment is much too elusive for this Court to draw, if indeed such a line can be

drawn at all.” 92 And it concluded: “Whatever the power of the state to control public

dissemination of ideas inimical to the public morality, it cannot constitutionally premise

legislation on the desirability of controlling a person’s private thoughts.” 93

          Consistent with those principles, what happens within the four walls of a person’s

home (with obscene materials) is off-limits from government control. 94 But, as soon as a

person goes beyond the front door, those protections disappear. 95 Case law is clear on

that. 96 A person does not have the right to receive obscene materials, even inside the

home. 97 A person definitely doesn’t have the right to distribute them outside the home.98

Nor does a person have the right to display the materials outside the home—you can’t

put a movie projector on your back fence and display obscene movies. 99 But so long as

you’re inside the home, the First Amendment provides you absolute protection. 100




91 Id. at 566 (quoting Kingsley International Pictures Corp. v. Regents, 360 U.S. 684, 688–89 (1959)).
92 Id.
93 Id. (emphasis added).
94 Id. at 564–66.
95 See id. at 568.
96 United States v. Reidel, 402 U.S. 351, 355 (1971); Twelve 200-ft. Reels of Super 8mm. Film, 413 U.S.

at 126–27.
97 United States v. Whorley, 550 F.3d 326, 332–33 (4th Cir. 2008).
98 Id.
99 See id.
100 Stanley, 394 U.S. at 564.




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       Now, scholars debate whether Stanley is truly a First Amendment case. 101 It clearly

uses the words “First Amendment” and uses them a lot. And it remains good law—it’s

been limited to the home, but never overturned. 102 Yet another way to think of Stanley is

as a substantive-due-process case before the Court had developed the for what

constitutes a “substantive due process” right. To be clear, Stanley was decided in 1969, so

it was post-Lochner and post-Griswold but it was before Roe, Casey, and Lawrence where

the Court articulated how certain innate rights operate within the right to privacy and

sexual freedom. 103 So while Stanley grounds itself in the First Amendment, the right it

articulates is one of privacy within the home. Within the home a person is free to do as

they will with obscene materials, but those materials can’t leave the confines of the

home—once they do the constitutional protections are lost.

           Before a search warrant can issue for allegedly obscene material, the First
           Amendment demands a searching inquiry.

       Back to Roth and Miller. From those cases, certain principles took root and guided

a half-century of jury trials and appellate court fights. But before a case could even get to

trial, law enforcement (and courts) faced a different, even more substantial, problem:

what showing must authorities make for a warrant to issue for allegedly obscene

materials? Again, we’re talking about subtle distinctions, so there’s a good chance some

of the materials seized will be deemed protected—that is, in its zeal, law enforcement



101 See, e.g., Jennifer M. Kingsley, Sexual Privacy in the Internet Age: How Substantive Due Process

Protects Online Obscenity, 16 VAND. J. ENT. & TECH. L. 103, 109–10 (2013).
102 Reidel, 402 U.S. at 355; United States v. Ostrander, 114 F.4th 1348, 1362 (11th Cir. 2024).
103 Kingsley, supra note 102, at 113–15; Roe v. Wade, 410 U.S. 113, 152 (1973); Planned Parenthood v.

Casey, 505 U.S. 833, 846 (1992); Lawrence v. Texas, 539 U.S. 558, (2003).


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may consider something obscene that isn’t. And when that happens, the seizure would

be a prior restraint on speech. 104

        Conscious of that reality, the Supreme Court grappled with when search warrants

could issue and what steps a court must take to ensure a prior restraint doesn’t occur.

There are three seminal cases on the topic: Marcus v. Search Warrant of Property, A Quantity

of Copies of Books v. Kansas, and Ft. Wayne Books v. Indiana. 105 And from those cases, three

important principles emerged.

        First, the normal way courts approach search warrants for contraband doesn’t

apply to cases involving obscene materials. The Supreme Court was absolutely clear on

that point: “It is no answer to say that obscene books are contraband, and that

consequently the standards governing searches and seizures of allegedly obscene books

should not differ from those applied with respect to narcotics, gambling paraphernalia

and other contraband.” 106 The Court rejected that proposition in Marcus and repeated it

in each subsequent case. 107

        Second, in a point that’s been mentioned throughout this brief, the Court provided

that the line between protected material and obscenity is “dim and uncertain.” 108 Each

case made that observation in slightly different ways, but each echoed this same point:

“[T]he line between speech unconditionally guaranteed and speech which may


104 Ft. Wayne Books v. Indiana, 489 U.S. 46, 63–64 (1989).
105 Id.; Marcus v. Search Warrant of Property, 367 U.S. 717, 731 (1961); A Quantity of Copies of Books v.

Kansas, 378 U.S. 205, 210–11 (1964).
106 Quantity of Copies of Books, 378 U.S. at 211–12.
107 Id.; Marcus v. Search Warrant of Property, 367 U.S. at 730–31; Ft. Wayne Books, 489 U.S. at 63–64.
108 Quantity of Copies of Books, 378 U.S. at 210 (quoting Bantam Books, Inc., v. Sullivan, 372 U.S. 58,

66 (1963)).


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legitimately be regulated, suppressed, or punished is finely drawn. The separation of

legitimate from illegitimate speech calls for sensitive tools.” 109 Thus, courts had to employ

“careful procedural safeguards to assure that only those materials adjudged obscene are

withdrawn from public commerce.” 110

          Third, and building on that second point, before allegedly obscene materials can be

seized, there has to be a “searching inquiry” of judicial scrutiny. 111 That means a court

can’t just ratify the officer’s conclusory opinion. 112 Rather, there must be a “searching

inquiry” into whether the materials are actually obscene. 113 That searching inquiry is

described in different verbal formulations. 114 But however it’s stated, the principle

remains: before a search warrant issues, the court must undertake a real analysis of

whether there’s a substantial basis to believe that the materials are actually obscene. 115

          That inquiry is best done when the judge actually views the material. 116 There’s no

question that with the images in front of him or her the judge can make the assessment.117

But sometimes independently evaluating the materials is impossible—for instance, there

is no projection screen in the courthouse. 118 In those cases, the judge must demand

enough information to actually make a decision that there’s a reasonable basis to


109 Marcus, 367 U.S. at 731 (quoting Speiser v. Randall, 357 U.S. 513, 525 (1958)) (alterations omitted)

(emphasis added).
110 Ft. Wayne Books, 489 U.S. at 79 (O’Connor, J., dissenting).
111 New York v. P.J. Video, Inc., 475 U.S. 868, 873–74 (1986).
112 Brunette, 256 F.3d at 18.
113 P.J. Video, Inc., 475 U.S. at 874; Heller v. New York, 413 U.S. 483, 489 (1973).
114 See P.J. Video, Inc., 475 U.S. at 874; Marcus, 367 U.S. at 732; Lee Art Theatre, Inc., 392 U.S. at 637.
115 Marcus, 367 U.S. at 732; see also United States v. Guarino, 610 F. Supp. 371, 375 (D.R.I. 1984).
116 Brunette, 256 F.3d at 18.
117 Id.
118 See Lee Art Theatre, Inc., 392 U.S. at 637.




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conclude this image qualifies as hard-core patently offensive pornography that lacks

serious value. 119 Unless the judge sees the images, law enforcement must provide enough

detail for the court to make that call. 120 Thus, while courts often issue search warrants in

child pornography cases based on a short description (the minor’s genitalia is the focus

of the image) that’s not the case with obscene materials—a much different analysis

applies. 121

        III.    The precedent laid out above establishes why the defense’s motions must
                be granted.

        This brief has been devoted to the law, but it’s important to re-introduce briefly the

facts that inform these motions. In relevant part, Anderegg came onto law enforcement’s

radar through a CyberTip from Instagram. The tip flagged two images as AI-generated

images of sexual abuse of children. And law enforcement went to Judge Crocker and got

a search warrant for Anderegg’s Instagram account. There is no indication Judge Crocker

looked at the images. After accessing the Instagram account, agents applied for a second

warrant and added the description of a third AI-generated image. There is no indication

Judge Crocker looked at that image either. Based on the second search warrant, agents

searched Anderegg’s home and phone.

        Several months later, he was indicted on four counts related to the possession,

distribution, transfer, and production of AI-generated obscene materials involving

minors. The counts break down this way:


119 See P.J. Video, Inc., 475 U.S. at 873–34.
120 Marcus, 367 U.S. at 732; see also State v. Hollis, 98 Ohio App. 3d 549, 555, 649 N.E.2d 11 (1994)

(quoting Gates, 462 U.S. 213 at 239).
121 See Ferber, 458 U.S. at 764; see also Brunette, 256 F.3d at 18.




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   Count        Statute                                   Description
                           Between October 20 and December 28, 2023, Anderegg allegedly
      1         1466A
                           produced at least one obscene image.
                           On October 7, 2023, Anderegg allegedly distributed an image of
      2         1466A
                           obscene materials.
                           On October 7, 2023, Anderegg allegedly transferred obscene
      3          1470
                           materials to a minor.
                           Between October 20, 2023 and February 22, 2024, Anderegg
      4         1466A
                           allegedly possessed an obscene image.


          The defense filed five placeholder motions attacking these charges. The first

motion attacks the two search warrants. 122 To be clear, if the first search warrant falls,

then the second would as well under the same reasoning and (even if the third image is

added) it would fall as fruit of the poisonous tree.123 The second pretrial motion attacks

Counts One and Four under Stanley because Anderegg possessed and produced the

images inside his own home. 124 The third pretrial motion attacks Counts Two and Three

because the images pertaining to those counts are not (as a matter of law) patently

offensive, hard-core pornography. The fourth pretrial motion seeks the grand jury

instructions for in camera review. And the fifth pretrial motion seeks a Bill of Particulars

for the government to identify the images that it showed to the grand jury and that will

be at issue at trial. To be clear, the government has already identified the images pertinent

to Counts Two and Three, but we need a Bill of Particulars as it relates to Counts One and

Four—our experts and our pretrial preparation cannot be subject to surprise.



122 R.39.
123 See Wong Sun v. United States, 371 U.S. 471, 481–83 (1963); see also United States v. Cordero-Rosario,

786 F.3d 64, 68, 73 (1st Cir. 2015).
124 R.40.




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         The last twenty-four pages have hopefully laid the groundwork to establish the

principles that will control those motions. And everything flows from a correct

understanding that the Ferber analysis doesn’t apply. 125 An image of a nude virtual child

or a nude virtual child masturbating won’t cut it because “sex is not synonymous with

obscenity.” 126 To be obscene and outside the First Amendment, the image must not only

be hard core, patently offensive pornography, but also lack serious value. 127 Further, even

if a person has obscene material, he can still do what he wants with it within his own

home; consistent with Stanley, the First Amendment builds a wall around the house that

the government cannot penetrate.128 And finally, when a search warrant issues for

obscene materials, the normal rules for drugs, guns, or even child pornography are out

the door. 129 There’s a different playbook—a search warrant cannot issue unless there has

been a “searching inquiry” into whether the material is actually obscene. 130 Get those

points right and everything else follows for why the defense’s motions should be granted.




125 Free Speech Coalition, 535 U.S. at 249; Arthur, 51 F.4th at 570–71.
126 Illinois v. Kimmel, 220 N.E.2d 203, 204 (Ill. 1966).
127 Miller, 413 U.S. at 24.
128 Stanley, 394 U.S. at 568; see United States v. Ostrander, 114 F.4th 1348, 1362 (11th Cir. 2024).
129 Marcus, 367 U.S. at 730–31.
130 See id. at 731.




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             Motion to Suppress the Search Warrant: it could not issue based on the
             affidavit’s description.

        The search-warrant challenge incorporates the first principles set out above. As

opposed to child pornography, a search-warrant affidavit for an obscene image demands

a higher showing. 131 And the protections and procedures Marcus and other cases set out

for seizing obscene materials must be followed. 132 Those are the two core problems with

this warrant: the images described aren’t obscene and the judge couldn’t make a

searching inquiry based on the descriptions provided. But the search-warrant application

also suffers from a more fundamental and glaring problem—when the allegedly illegal

activities were taking place, the officers never tied the account to Anderegg’s IP address.

They subpoenaed the IP address for different days when nothing took place. Put

differently, nothing ties Anderegg’s IP address to when the allegedly criminal activity

was taking place. Without that, the search warrant could not issue.

        i.       The search warrant did not provide enough information for a searching
                 inquiry into whether the images were obscene.

        The initial search-warrant affidavit sought evidence that Anderegg possessed and

distributed obscene materials. Again, when law enforcement seeks a warrant for obscene

materials they need to give the court enough information for the court to determine

whether the images are obscene. 133 The court cannot just ratify the officer’s conclusion

that the materials are obscene; rather, there has to be sufficient facts alleged. 134




131 See id. at 731–32.
132 Id.; A Quantity of Copies of Books, 378 U.S. at 210–11.
133 Marcus, 367 U.S. at 731; A Quantity of Copies of Books, 378 U.S. at 210–11.
134 Marcus, 367 U.S. at 732.




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          Here, when it comes to the first search warrant there are only two paragraphs that

describe the images, and they are the verbatim recitation of the CyberTip. The sexual

aspects of the descriptions are italicized.

          This image depicted what appeared to be a prepubescent juvenile male
          kneeling on a blue blanket in a wooded area. The male was partially
          clothed, only wearing a baseball cap and white underwear. The male had his
          erect penis exposed through the opening in his underwear. In the background of
          the image were other clothed, pre or young pubescent children. The male
          was posed in a manner that made his erect penis the focal point of the image.
          This image appears to be computer-generated content. 135

          This image depicted what appeared to be a different prepubescent juvenile
          male kneeling on a blue blanket in a wooded area leaning back on his hands
          with his legs spread far apart exposing his erect penis. The male had a blue cloth
          draped across his stomach, but other than that, was completely nude. There
          was a partially clothed juvenile female with brown hair kneeling to the left
          of the male looking over his shoulder at him. The male in this image was
          posed in a manner that made his penis the focal point of the image. This
          image appears to be computer-generated content. 136

The second search warrant for Anderegg’s home contained a description of a third

allegedly obscene image that the affiant believed Anderegg sent:

          This third image depicted what appeared to be three prepubescent boys
          standing in a row in a wooded area. The boys are all shirtless and wearing
          tiny shorts. The boy on the left has his erect penis sticking out of his shorts. The
          boy on the right has his shorts zipped down to expose his penis, which the boy in
          the middle appears to be gripping with his hand. The boys are clearly intended
          to be prepubescent based on their small statures, underdeveloped
          physiques, and youthful facial features. 137

Those descriptions provide little by way of content or context for a court to determine—

without seeing the images—whether they fall qualify as obscene.



135 Ex. A. at 11.
136 Id.
137 Ex. B at 34.




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        From Instagram’s initial alert to what was provided to the issuing judge, nothing

was done to provide additional facts that would inform a court’s decision on whether the

images are actually obscene. And from those vague descriptions, we don’t even have a

sex act being displayed. We have nudity, which is not obscene and often not even enough

to find that the image is child pornography.138 And the description of the third image is

even less offensive than what the Fifth Circuit found not obscene in Arthur—a minor

masturbating. 139 And all of the images are less offensive than what the Eighth Circuit

found was not obscene—“nude or nearly-nude males, all with their genitalia fully

exposed” but consisting of “no sexual activity”—albeit with adults. 140 Here, there is

nothing about the images that would make them into remotely patently offensive, hard-

core pornography. Is it pornography? Maybe—probably, sure. But it doesn’t matter

because the question is: Is the image patently offensive, hard-core pornography?

Certainly not. Those descriptions just don’t cut it.




138 See, e.g., United States v. Griesbach, 540 F.3d 654, 656 (7th Cir. 2008); United States v. Soderstrand,

412 F.3d 1146, 1151 (10th Cir. 2005); United States v. Kemmerling, 285 F.3d 644, 645–46 (8th Cir.
2002).
139 Arthur, 51 F.4th at 570.
140 Spinar v. United States, 440 F.2d 1241, 1242 (8th Cir. 1971); United States v. Various Articles of

Merch., 230 F.3d 649, 657 (3d Cir. 2000).


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        ii.     The search warrant did not provide enough information for an issuing
                court to appreciate the serious value of the images.

        What’s more, there is nothing in the description that allowed the court to answer

whether there was any serious value in the photos. Miller’s third prong could be deemed

an afterthought; but it’s critical that the court tackles the full analysis before a search

warrant issues. 141 That means: the court had to know, how does the prurient part of the

image fit within the whole? To answer that, the best practice is for the court to see the

image and make its own independent analysis. 142 But the failure to provide the image

and the issuing judge’s failure to demand it doesn’t excuse the court’s need to determine

for itself whether there was any serious value. 143

        To that point, the descriptions quoted above didn’t allow for that aspect of the

analysis. It just recited the nudity, but that’s not enough to gauge whether an image is

without serious value—i.e., obscene. Think about it in these terms. Some renowned pieces

of art could be described as child erotica, or even child pornography. If the affiant here

were describing some of those works in search-warrant speak, he might say:

        This image depicts a group of people standing and sitting on rocks. The
        focal point of the image is a fully nude post-pubescent minor female with
        breasts and genitalia exposed. She is surrounded by five other nude post-
        pubescent individuals who appear to be touching each other. Two nude
        pre-pubescent children are touching each other and one child is staring up
        at the center female. There are nude pre-pubescents in the background,
        some with genitalia exposed. The pre-pubescent minors are clearly
        intended to be pre-pubescent based on their small statute, underdeveloped
        physique, and youthful facial features.



141 See Marcus, 367 U.S. at 732.
142 See P.J. Video, Inc., 475 U.S. at 873–74; see also United States v. Miknevich, 638 F.3d 178, 183 (2011).
143 See Marcus, 367 U.S. at 732.




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That would be an accurate, though not complete description of these images. The one on

the right is an AI-generated version (to appear as a photograph) of the one on the left,

which is William-Adolph Bouguereau’s Birth of Venus, which hangs in the Musée

d’Orsay.




All of the serious value is lost when the description is so vague and the image isn’t shown.

To be clear: the point is not the child nudity or the medium (oil-on-canvas versus AI) but

rather the descriptions—the affiant’s description needed to speak to whether the image

had serious value. But the previous page’s description (which intentionally parrots the

warrant’s) doesn’t speak to the image’s value—it’s silent.




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       To that end, consider this description, which could easily be found in a search-

warrant affidavit and reflects a much different sort of image:

       This image depicts a pre-pubescent minor female with genitalia exposed.
       The minor female appears to be lying over the lap of a post-pubescent
       female adult. The minor female is intended to be pre-pubescent based on
       her lack of public hair and small stature. The older female appears to be
       assaulting the minor by digitally penetrating the pre-pubescent minor with
       one hand and pulling the minor’s hair with the other hand. The pre-
       pubescent minor appears to be fondling the older female’s exposed right
       breast. Also there’s a guitar.

That description, while accurate, provides nothing about the value inherent in the image.

Indeed, the description is of the classical piece by Balthus called The Guitar Lesson, which

the Seventh Circuit cited in Griesbach as “child erotica.” On the right is an AI-created

image of the same scene made to appear as a photo.




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Again, the medium doesn’t matter (AI versus watercolors) the image’s value is the same.

Yet, that’s not captured when all you have is a vague description of sexual conduct;

without more, the judge can’t complete the obscenity analysis. After all, sex is not

synonymous with obscenity.

       The refrain could be: there’s more going on in the previous image than just a sexual

display that shows value. Maybe. But even if that was the response, it too misses the

point. Again, the medium (AI versus photo paper) doesn’t matter, nor does the presence

of sex—what matters is the judge’s ability to gauge whether the image is obscene. Think

of it the terms of a search-warrant affidavit that provided the following:

       Law enforcement found a black and white image of a prepubescent minor
       male, fully nude, between 8-10 years of age. The minor is sitting on a chair
       staring at the camera. His legs are spread and his genitalia is fully exposed.
       The minor’s nude body and genitalia are the focal point of the image.

That would be a completely accurate description of this image:




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       The one on the left is the original and the one on the right is AI-enhanced to appear

as a painted portrait of the very same image—clearly AI can’t match Mapplethorpe.

       Again, that’s a completely accurate description, but it’s completely inadequate

when it comes to evaluating the image’s artistic worth. Indeed, the image fitting that

description appears in the Getty Museum and it’s featured in Sotheby’s Mapplethorpe

portfolio. Both images (photograph and AI) fit the description. But in neither case can the

image be dismissed as obscene—the jury in Cincinnati certainly didn’t think so, nor do

Sotheby’s or Amazon.144 Yet none of that is conveyed by the description provided above.

       Those three examples should make this point plain: the affidavit did not provide

enough for the “searching inquiry” that the law demands—it cited child nudity and

genitalia as the image’s focus, noted it was AI generated, and considered the matter done.

But it’s not that easy. As the Supreme Court held in Free Speech Coalition in a quote that

resonates here:

       Our society, like other cultures, has empathy and enduring fascination with
       the lives and destinies of the young. Art and literature express the vital
       interest we all have in the formative years we ourselves once knew, when
       wounds can be so grievous, disappointment so profound, and mistaken
       choices so tragic, but when moral acts and self-fulfillment are still in reach.
       Whether or not the films we mention violate the CPPA, they explore themes
       within the wide sweep of the statute’s prohibitions. If these films, or
       hundreds of others of lesser note that explore those subjects, contain a
       single graphic depiction of sexual activity within the statutory definition,
       the possessor of the film would be subject to severe punishment without
       inquiry into the work’s redeeming value. This is inconsistent with an essential
       First Amendment rule: The artistic merit of a work does not depend on the presence
       of a single explicit scene. 145


144 Alex Palmer, When Art Fought the Law and Art Won, SMITHSONIAN MAGAZINE (Oct. 2, 2015),

https://tinyurl.com/48p8v7c4.
145 535 U.S. at 248 (emphasis added).




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The search-warrant affidavit presented the opposite of what counts in obscenity cases—

it only provided the court with the explicit element and nothing else. All the court had

was that in each image a minor’s penis was exposed—erect in two, and gripped in a third.

Without more, without something that makes that scene into hard-core, patently

offensive pornography that lacks serious value, the warrant could not issue, and the

evidence must be suppressed.

       iii.    Beyond the First Amendment problems, the affidavit failed to tie
               Anderegg’s home to the IP address when these images were shared.

       Putting aside the First Amendment, the law is clear that a search warrant can only

issue if the illegal material is tied to the place to be searched—it’s the Fourth

Amendment’s nexus demand. 146 As this Court knows from many prior cases, IP addresses

are dynamic—they change, sometimes every few minutes. 147 Hence the need for law

enforcement to nail down precisely when an account was tied to an IP address.

       Here, the search-warrant affidavit noted that potentially obscene materials were

sent from a .74 IP address on October 7, 2023 at 9:36 pm CST and the same paragraph

provides that the “target account” logged onto the .74 IP address on October 1, 2023 at

9:08 CST. 148 That is, if the materials sent are obscene then there’s probable cause to believe

that whoever was using the .74 IP address on October 7 at 9:36 pm is the one distributing

this material and a search warrant can issue for his or her home. Yet, in the very next


146 Warden, Maryland Penitentiary v. Hayden, 387 U.S. 294, 307 (1967); United States v. One Residence

& Attached Garage, 603 F.2d 1231, 1233 (7th Cir. 1979).
147 Aurelija Einoryté, What is a Rotating IP Address, and How Does IP Rotation Work? NordVPN,

https://nordvpn.com/blog/what-is-ip-rotation/ (June 12, 2023).
148 Ex. A. at 11–12.




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paragraph, when it came to finding out who used the .74 account on the critical dates and

times, the investigators subpoenaed different dates and times. 149 They sent out a

subpoena for who was using the .74 IP address on October 2, at 9:08 and October 8, at

9:36 pm. That is:

          Time of allegedly criminal behavior                  Time .74 IP address used
            October 7, 2023 at 9:36 pm CST                  October 8, 2023 at 9:36 pm CST
              October 1, 2023 at 9:08 CST                   October 2, 2023 at 9:08 pm CST


Put plainly, the officers never subpoenaed the IP address for when allegedly criminal

behavior was actually happening.

           In the parlance of probable cause, the investigators never tied Anderegg’s

computer or home to the sharing of those materials—they never established a nexus.150

Given that IP addresses are dynamic and not static, the fact that it was within a day or so

does not establish probable cause. 151 As one court put it, when “the property to be

searched is a computer hard drive, the particularity requirement assumes even greater

importance.” 152 After all, we’re not talking about 1428 Elm Street; the house getting mail

at 1428 Elm Street address will weeks, months, even decades later be the same. 153 But IP

addresses are not the same as physical addresses, they are different; they are (except in




149 Id.
150 See United States v. One Residence & Attached Garage, 603 F.2d at 1233 (7th Cir. 1979).
151  Einoryté, What is a Rotating IP Address, and How Does IP Rotation Work? NordVPN,
https://nordvpn.com/blog/what-is-ip-rotation/ (June 12, 2023).
152 United States v. Galpin, 720 F.3d 436, 446 (2d Cir. 2013).
153 See id.




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limited cases not present here) dynamic and can change every minute. 154 So there was

not a basis to believe that the .74 IP address was actually tied to Anderegg’s home when

the material was allegedly distributed. Thus, not only did the search-warrant application

not allow the issuing judge to engage in a “searching inquiry” on whether the images

were obscene, the affidavit never tied the sharing of the offending images to Anderegg’s

account and therefore residence. For either (or both) reasons, the search warrant could

not issue, and the evidence must be suppressed.

           Motion to Dismiss Counts Two and Three: the images that Anderegg
           allegedly distributed are not obscene.

       In Counts Two and Three, the Indictment alleges that Anderegg distributed

obscene materials on October 7, 2023. We know from the search-warrant affidavit what

the images contained—it’s all quoted above and the government has provided the precise

image numbers and the reports that contain their descriptions. And after seeing the

images, those are somewhat accurate (though vague) descriptions; the defense does (in

Pretrial Motion Six) push back on the first two minors being described as “prepubescent”;

they clearly young faces but also muscular development and pubic hair that puts them

well, well outside the prepubescent stage. That is, this is AI, so you can’t Tanner Scale the

images. Tanner scale is, of course, a scale of physical development based on primary and

secondary sex characteristics that medical and legal professionals use to estimate a child’s

age. 155 There is no way to do that with these images – block off the head and you have a



154  Einoryté, What is a Rotating IP Address, and How Does IP Rotation Work? NordVPN,
https://nordvpn.com/blog/what-is-ip-rotation/ (June 12, 2023).
155 See United States v. Red Legs, 28 F.4th 931, 934 n.2 (8th Cir. 2022).




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muscular (if a bit thin) 20-year-old body complete with pubic hair. But the age doesn’t

matter as much as the depiction.

        Here, there is no way to consider the images that Anderegg allegedly distributed

(and described above) and find that they are obscene materials. As a matter of law, a

minor with an exposed penis doesn’t cut it. Rather, as made clear in Miller the images

must portray hard core, patently offensive sexual conduct. And whatever can be said

about an exposed penis—flaccid, erect, or gripped—it ain’t that.

        This issue is one of the few where the court can step in and must make the initial

call—read the book, look at the movie, see the image—and decide if this is (as a matter of

law) enough. 156 As the Supreme Court in Covington observed in a different context, the

procedure is proper when “trial of the facts surrounding the commission of [an] alleged

offense would be of no assistance in determining the validity of [a] defense.” 157 That’s

because (like here), “courts may entertain motions that require it to answer only pure

questions of law.” 158 And the Seventh Circuit has approved the use of this procedure in

the appropriate circumstances. 159

        Here, the issue is whether these images constitute “obscene materials.” It would

be a waste to demand that the defense (and the Court) prepare for trial, bring a jury in,

and then wait until the jury was sworn to move under Rule 29. As one district court




156 See P.J. Video, Inc., 475 U.S. at 873–74; see also United States v. Miknevich, 638 F.3d at 183.
157 United States v. Covington, 395 U.S. 57, 60 (1969).
158 United States v. Pope, 613 F.3d 1255, 1260 (10th Cir. 2010) (citing id.).
159 See United States v. Risk, 843 F.2d 1059, 1061 (7th Cir. 1988); see also United States v. Ponto, 454

F.2d 657, 659 (7th Cir. 1971) (en banc) (upholding the grant of a pretrial motion to dismiss).


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observed when it granted a motion to dismiss over the government’s objection:

“Although the Government insists that the Court should wait until trial, the Court finds

that such a delay is unwarranted and would constitute a waste of judicial resources.” 160

The court continued, “[I]f this is [the Government's] evidence, it would be a directed

verdict at the end, and I don’t know why I have to sit through two or three weeks while

you put on what we know the evidence will be. There doesn’t seem to be a dispute of the

facts in this case.” 161 Indeed.

        This case turns on whether the images qualify as obscene. And as set out above,

they don’t. They simply are not (and cannot be) the stuff of the hard core, patently

offensive type that falls outside the First Amendment and can be prosecuted. For that

reason, this Court must dismiss Counts Two and Three.

            Motion to Dismiss Counts One and Four: under Stanley, he had a right to
            possess and produce them within the confines of his home.

        When it comes to Counts One and Four, the fight is not over the images—the

government hasn’t even stated what images it’s contending are obscene. We’ve seen

those that were submitted to the grand jury and they’re not obscene. But, Counts One

and Four should be dismissed for a more fundamental reason—because they fall under

the First Amendment’s protections of the home that Stanley articulated.

        As noted above, Stanley does not provide any protections for activities outside the

home. The Supreme Court has been absolutely clear on that.




160 United States v. Nitschke, 843 F. Supp. 2d 4, 9 (D.D.C. 2011).
161 Id. (quoting United States v. Levin, 973 F.2d 463, n.1 (6th Cir. 1992)) (emphasis added).




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           •   The First Amendment does not protect the distribution or sale of obscene
               material. 162

           •   The First Amendment does not protect the importation, through a port of entry,
               of obscene material for private use. 163

           •   The First Amendment does not protect the public exhibition of obscene
               material in public places even when minors are excluded from the premises.164

           •   The First Amendment does not protect the importation of obscene material for
               private use. 165

           •   The First Amendment does not protect the transportation of obscene material
               on common carriers in interstate commerce. 166

           •   The First Amendment does not protect the transportation of obscene material
               through the mail. 167.

The Supreme Court has never extended Stanley to activities outside the home and courts

have refused to extend Stanley’s rationale to places that might even seem “home like”—

you can’t possess obscene materials in a military barracks. 168

           Yet inside the home, Stanley controls. As the Supreme Court has observed: “Stanley

did protect conduct that would not have been protected outside of the home.” 169 And

Stanley rests firmly (and explicitly) on the limitations of the government’s ability to

control activities inside the home: “the state … cannot constitutionally premise legislation




162 Reidel, 402 U.S. at 355.
163 United States v. Thirty-seven Photographs, 403 U.S. 363, 376 (1971).
164 Paris Adult Theater I v. Slaton, 413 U.S. 49, 69 (1973).
165 Twelve 200-ft. Reels of Super 8mm. Film, 413 U.S. at 128.
166 Orito, 413 U.S. at 143.
167 Smith v. United States, 431 U.S. 291, 307 (1977).
168 United States v. Bowersox, 71 M.J. 561, 564 (A. Ct. Crim. App. 2012).
169 Bowers v. Hardwick, 478 U.S. 186, 195 (1986) (overruled by Lawrence v. Texas, 539 U.S. 558,

(2003)).


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on the desirability of controlling a person’s thoughts.” 170 The right to receive information,

to “read or observe,” and to “satisfy [one’s] intellectual and emotional needs” inside the

home are absolute. 171

        Here, those rights concern Anderegg’s ability to think and create. Possessing and

producing the materials at issue in this case are exercises of Anderegg’s freedom of

thought. 172 Anderegg has a right to think freely—even thinking obscene thoughts.173 And

Anderegg has a right to take those thoughts and express himself in creating these

materials with AI just as much as he would with a needlepoint canvas or a charcoal

pencil. When it comes to engaging in this sort of thought and expression, the Supreme

Court in Free Speech Coalition was clear: “First Amendment freedoms are most in danger

when the government seeks to control thought or to justify its laws for that impermissible

end. The right to think is the beginning of freedom, and speech must be protected from

the government because speech is the beginning of thought.”174 That, of course, speaks

to Anderegg’s ability to create and will into existence these thoughts by creating images

at issue in Counts One and Four. He is free to think—whatever those thoughts are. And

if he’s free to express them with a paintbrush or a chisel, then he should also be able to

create them with AI. Now, if the painting, the sculpture, or the AI generated image are




170 Stanley, 394 U.S. at 566.
171 See id. at 564–65.
172 Free Speech Coalition, 535 U.S. at 253.
173 LaFave, Substantive Criminal Law § 11.4 (2d. ed. 2016) (“Bad thoughts alone cannot constitute

a crime.”).
174 535 U.S. at 253.




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truly obscene, he may not share them outside the home, but consistent with Stanley he

can certainly possess and create them inside his own home.

        The First Amendment’s protection of Anderegg’s right to possess and produce

these images means that § 1466A is unconstitutional as applied to the prosecution of

Anderegg’s activities inside the home. As explained above, the First Amendment

recognizes “a valid governmental interest in dealing with the problem of obscenity,” but

“that interest cannot, in every context, be insulated from all constitutional protections.” 175 As the

Eleventh Circuit in Ostrander observed, the home is one of those contexts: “the First

Amendment protects the private possession in one’s own home of obscene material

depicting virtual minors, so long as no real children are victimized.” 176 There, the court

rejected a facial challenge to § 1466A, finding that any overbreadth was not substantial

when judged in relation to the statute’s plainly legitimate sweep. 177 And the court

(helpfully) distinguished the statute’s legitimate sweep from unconstitutionally

burdensome examples that would be problematic applications of § 1466A: creating an

obscene digital comic strip in the confines of one’s own home, private drawings or

sculptures, and “legitimate works of art in progress.” 178

        The legitimate sweep of § 1466A simply does not cover private possession and

production of obscene materials within the home. 179 Since Counts One and Four rest



175 Stanley, 394 U.S. at 563 (emphasis added).
176 United States v. Ostrander, 114 F.4th 1348, 1362 (11th Cir. 2024) (citing id. at 256) (emphasis in

original).
177 Id. at 1362.
178 Id. at 1363.
179 Id.




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solely on activities that took place inside the home, Stanley dictates that § 1466A is

unconstitutional as applied to these counts. Anderegg couldn’t possess obscene material

in his car or his cubicle at work or create them in a park or at a coffee shop, but he could

at home. 180 Put differently and in terms of constitutional challenges, § 1466A is a valid

exercise of congressional power in all regards except the home (as Stanley made clear) and

thus those counts must be dismissed.

            Motion for in Camera Review of the grand jury instructions to ensure that
            the grand jury was properly charged.

         Here, the defense has set out why the images, especially those in Counts Two and

Three, don’t cut it as far as obscene materials go. The grand jury had to decide whether

the images were obscene and that had to be done consistent with the Miller test. And

given the arguments set out above, there is good reason to think that they were not

properly instructed—how could an image of a juvenile’s penis (in whatever state) be

obscene? Yet here we are.

        Anderegg has a Fifth Amendment right to face trial based on a properly instructed

jury: “Neither instructions nor a petit jury verdict can satisfy after the fact the Fifth

Amendment right to be tried upon charges found by a grand jury.” 181 Naturally,

information concerning the grand jury is veiled, with few exceptions, by absolute

secrecy. 182 The proceedings and records are closed to the public. 183 This is done for



180 Stanley, 394 U.S. at 563.
181 United States v. Hooker, 841 F.2d 1225, 1232 (4th Cir. 1988).
182 Fed. R. Crim. Proc. 6(e)(2)(B); see Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 218–19

(1979).
183 Douglas Oil Co., 441 U.S. at 218 n.9.




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several reasons: disclosure could discourage witnesses from coming forward; those about

to be indicted would flee; and secrecy assures that those accused but exonerated by the

grand jury will not be held up to public shame. Balanced against these three primary

considerations, the Rules of Criminal Procedure layout several exceptions to the mandate

for secrecy. 184

          Informed by the rules, stringent standards limit when disclosures should be made:

“parties seeking disclosure of grand jury transcripts must show that the material they

seek is needed to avoid a possible injustice in another judicial proceeding, that the need

for disclosure is greater than the need for continued secrecy, and that their request is

structured to cover only material so needed.” 185 That standard has been read to require

that the defense should show a “compelling necessity” or a “particularized need.” 186 Yet,

the standard remains “a highly flexible one, adaptable to different circumstances and

sensitive to the fact that the requirements of secrecy are greater in some situations than

in others.” 187

          Here, the defense can satisfy all of the relevant criteria—both under the Rules and

the case law. The Federal Rules allow for disclosure of grand jury proceedings “at the

request of a defendant who shows that a ground may exist to dismiss the Indictment

because of a matter that occurred before the grand jury.” 188 If the grand jury was



184 Id. at 219; see also United States v. Procter & Gamble Co., 356 U.S. 677, 681–82 n.6 (1958).
185 Matter of Grand Jury Proceedings, Special Sept., 1986, 942 F.2d 1195, 1198 (7th Cir. 1991).
186 Id.
187 Hernly v. United States, 832 F.2d 980, 984 (7th Cir. 1987) (internal quotations omitted); see also

United States v. Campbell, 294 F.3d 824, 827 (7th Cir. 2002) (per curium).
188 Fed R. Crim. P. 6(e)(3)(E)(ii).




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misinformed of the law, and thus returned charges that legally cannot amount to a federal

crime—here, that the materials are not obscene—then grounds exist to dismiss them. 189

        And the mistake of law can come in many forms. For example, a mistake arose

when, in response to question by a grand juror, a prosecutor offered an explanation of

the law adverse to the defendant and contrary to leading Supreme Court ruling—an

instruction the district court noted dealt with a “crucial over-arching legal question” and

the consequence could be that “Government wrongly obtained the criminal indictment

against this clergyman for exercising his First Amendment right” by so misleading the

grand jury that it “no longer operated as an independent body.” 190 Or in another case

where the prosecutor erroneously stated, in response to a juror’s question, that good faith

reliance on the advice of counsel was an affirmative defense, to be presented “at trial,”

and therefore “irrelevant” to determining whether the elements of the crime are met. 191

That was, of course, error. Here, it’s critical to know how the jury was instructed to view

these images because it’s impossible to believe that a properly charged jury would find

the images to be patently offensive, hard-core pornography that “goes substantially

beyond customary limits of candor and affronts contemporary community standards of

decency.” 192




189 See, e.g., Hooker, 841 F.2d at 1232.
190 See United States v. Cerullo, 2007 WL 2683799, *8–11 (S.D. Cal. 2007).
191 United States v. Stevens, 771 F. Supp. 2d 556, 567 (D. Md. 2011); see also United States v. Breslin,

916 F. Supp. 438, 445–46 (E.D. Pa. 1996).
192 Miller, 413 U.S. at 31 (emphasis added) (quoting jury instructions).




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        In some cases, the government responds that we give the grand jury the statute

and that’s enough. But the statute’s text provides no assurance that the grand jury

received a proper instruction of the nuanced law governing obscenity. While instructions

to a grand jury need not be “crystal clear,” they still must inform the grand jurors of the

issues involved. 193

        Anderegg has the right to know that the grand jury found probable cause to

believe that the images he allegedly possessed, produced, and distributed were

obscene. 194 The failure to disclose the instructions may mean that he will have to stand

trial for an act for which the grand jury never found probable cause. Additionally,

disclosure must happen before trial. Otherwise, if he is convicted by a petit jury, that

verdict “demonstrates a fortiori that there was probable cause to charge the defendants

with the offenses for which they were convicted.” 195 Thus, the defense has established a

“compelling necessity” to avoid Anderegg’s standing trial for a charge that a grand jury

never found probable cause to believe he committed. And the defense has established a

“particularized need” because the defense is merely seeking the grand jury’s instructions.

The defense has not asked for any of the testimony before the grand jury, just the charging

instructions. While judges in Chicago may quip that a skilled prosecutor can indict a ham

sandwich, the defense is confident that a properly charged grand jury would not indict




193 United States v. Overmyer, 899 F.2d 457, 465 (6th Cir. 1990).
194 Stirone v. United States, 361 U.S. 212, 215–17 (1960).
195 United States v. Mechanik, 475 U.S. 66, 67 (1986).




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Anderegg for images of a juvenile’s penis or even one that’s gripped—at least not under

the proper reading of Miller.

         This compelling necessity and particularized need must, of course, be balanced

against the considerations that undergird the grand jury’s need for secrecy. Those are not

a trifle. Recall these concerns: disclosure could discourage witnesses from coming

forward; those about to be indicted would flee; and secrecy assures that those accused

but exonerated by the grand jury will not be held up to public shame. 196 But those points

should not control here. First, there is no concern that Anderegg will flee. Second, the

defense is not seeking any testimony with this motion; instead, the request is limited to

in camera review of the instructions given to the grand jury. Third, Anderegg has already

been indicted and faced public shame. There is, indeed, no prejudice to the government,

the defense, or a third-party that would be implicated by having this Court review the

grand jury instructions in camera. Thus, the defense has made a clear and definite showing

of why the grand jury instructions are necessary and why he may be suffering prejudice

because of an improperly instructed grand jury.




196 Douglas Oil Co., 441 U.S. at 219; Matter of Grand Jury Proceedings, Special Sept., 1986, 942 F.2d at

1199.


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            Motion for a Bill of Particulars to know precisely what images the
            government will argue are obscene.

        Under Rule 7, “[t]he court may direct the government to file a bill of

particulars.” 197 A bill of particulars is warranted when the indictment doesn’t provide the

defendant with adequate information to allow him to understand the charges against

him, prepare his defense, protect against double jeopardy, and avoid unfair surprise at

trial. In other words, its purpose is to provide “information necessary to permit the

defendant to con- duct his own investigation.” 198

        The Court already granted the oral motion for the government to identify the

images in Counts Two and Three—they are the ones listed in the search warrant. But the

defense also moves for a Bill of Particulars that identifies the images that the grand jury

found were obscene in Counts One and Four and that the government will argue at trial

are obscene. We need these to prepare for trial and allow our experts to prepare their

reports. It cannot be that we get to trial and prepare to argue whether images A and B are

obscene only to have the government pivot and bring in images C and D and there has

been no expert report for images C and D.

        This trial cannot be about surprise. It’s about the First Amendment and whether

the images are obscene under Miller. This will demand the views of experts, who must

view the specific images and opine on whether the images lack serious value. That has to

be done with full disclosures of expert reports and those reports have to be wedded to




197 Fed. R. Crim. Pro. 7(f).
198 United States v. Smith, 776 F.2d 1104, 1111 (3d Cir. 1985) (emphasis omitted).




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the facts that will be argued at trial. 199 To ensure that happens and that there is no

surprise, the government must identify what images the grand jury found were obscene

as they pertain to Counts One and Four—for Anderegg can only be tried on those images.

        IV.     Conclusion

        In the end, this is an interesting case. Smack dab between the First Amendment

and criminal law, we have the first case in the country about AI-created obscenity. That

might have some appeal for the press releases, but it ultimately doesn’t matter that much.

The law doesn’t care whether the images were made with AI or a No. 2 pencil. The only

question is whether the images are obscene. And semi-nude images of boys with their

penises exposed may be many things, even child pornography if they’re actual children,

but it’s not patently offensive, hard-core pornography that goes substantially beyond

customary limits of candor and affronts contemporary community standards of decency.

And if that’s true—and it is—then the defense’s motions must be granted, the evidence

suppressed and the case dismissed.

         Dated this 8th day of November, 2024.

                                                      Respectfully submitted,

                                                  STEVEN ANDEREGG, Defendant

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199 See Fed. R. Crim. Pro. 16(e)(ii).




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